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os REYNA ARROYO

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ADDRESS
TELEPHONE

VIA Personal Delivery

Honorable Edgardo Ramos
United States District Court
Southern District of New York
40 Foley Square

New York, N.Y. 10007

RE: Arroyo v. The Dept. of Ed

November 11, 2019

ucation of the City of N.Y.

 

Civil Action No. 19
Dear Judge Ramos,

I am the Plaintiff in the case cited above. I am resp
respond to the City Law Department no later than }
motion conference to seek leave to move to dismis

I understand that you have scheduled November 26
intend on being there. I oppose dismissal of my cas
that I receive a schedule whereby I can have four w
Law Department Motion.

Neither Arbitrator Lisa Pollack nor Judge Shlomo
of probable cause in the tenure law Education Le
Neither addressed the fact that I never waived my
and that the Chancellor never obtained the author
delegate these charges.

Thus Point number I, “The School Board Does Not

LCV-7416 (ER)

onding to your Honor’s ruling that I must
November 13, 2019 to their request for a pre-
3 all of my claims.

, 2019 as the pre-motion conference, and I
e for the reasons set forth below, and request
eeks to Oppose the claims made in the NYC

lagler addressed the fact that the determination
w 3020-a Section (2)(a) was never changed.
ight to have a vote on my charges by the PEP,
ty to vote on 3020-a charges and thus cannot

Need To Vote On Probable Cause” is wrong

 

the transfer of the initiation of charges and other

ties and responsibilities of the school board

on the prevailing law. The New York State tdi considered and subsequently agreed to

to the Chancellor except for the determination of p | obable cause, The determination of probable

cause in Education Law §3020-a remained under t
Board, the Panel For Educational Policy (“PEP”), i
of its members. (Education Law §3020-a Section (
Proof of the intentional support for the determinati
authority of the PEP voting in an Executive Sessi
and laws, all of which were ignored by the
Department in this matter:

e The Chancellor was never given a vote o1

  

sole authority of the New York City School
Executive Session after a vote by a majority
)(a)).

n of probable cause to remain under the sole
n can be seen in the following current rules
Affirmation in Response submitted by the

n the PEP, and cannot delegate this vote to

 
 

anyone. (current PEP Bylaws)

Education Law §2590-b also states that: “T
officio member of the Panel for Educationa
The Delegation memos are worthless papers
mention “probable cause”. .

Nowhere in Education Law §3020-a is ther
single individual) to make a determination ¢
removed the independent participation of
probable cause in disciplinary hearings held
Initiating charges and finding and determinii
procedures. No principal or Superintendei
against a tenured teacher unless, and only,
right to a hearing and/or settles the case be
public policy stands firmly behind an arb
employee who is charged, and neither the €
may terminate a tenured teacher who reqi
against him/her.
The proscription against voting by the Chan

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ne Chancellor shall serve as a non-voting ex-
Policy.”
in the argument presented here because none

€ a provision authorizing a Principal (or any
f probable cause. The State legislature never
he school board, or PEP, in the finding of
in New York City.

ng probable cause are two different actions and
nt can "initiate and resolve" 3020-a charges
n cases where the Respondent waives his/her
fore going to a full hearing. New York State's
tration /due process hearing for any tenured
hancellor nor the Community Superintendent
lests a due process hearing on charges filed

cellor on PEP matters was intentional. The

2002 PEP Bylaws had permitted the Chancellor the right to vote; however, when PEP

amended the Bylaws in 2009, they specifica
unanimously adopted the amended Bylaws
Education Law §2590-f(t) states:

lly removed that right. Notably, PEP
proscribing the Chancellor’s right to vote.

“(t) notwithstanding any provisions of law to the contrary, to exercise all of the duties

and responsibilities of the employing board
of this chapter pursuant to a delegation of th
hundred ninety-h of this article ”
Education Law §2590-h states:

“The office of chancellor of the city district
serve at the pleasure of and be employed by
contract. The length of such contract shall n
office of the mayor authorizing such contra¢
fixed by the mayor within the budgetary al
his or her powers and duties in a manne
educational policies of the city board. ...”
Even if the NYC Chancellor could be given
have to hold an Executive Session and meet
open public meeting. (New York State Opet
No Constitutional rights may be waived
Petitioner affirmed that at no time did she
based upon a finding of probable cause pursu
of the tenure law charging tenured employ
Union, United Federation of Teachers, (“UF
of School Supervisors and Administrators,
right to the charging process mandated in Ed
is no hidden waiver by the Department
proceedings. Fraudulent concealment of a sé

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as set forth in section three thousand twenty-a
e chancellor under section twenty-five

is hereby continued. Such chancellor shall
the mayor of the city of New York by

ot exceed by more than two years the term of
t. The chancellor shall receive a salary to be
ocation therefor. He or she shall exercise all
not inconsistent with the city-wide

all the duties of the PEP, he/she would still
with at least one other person as part of an

1 Meetings Law Section 105).

without written consent, and in this matter
waive her rights to proceed to an arbitration
ant to Education Law §3020-(2)(a). No waiver
ees of the Department by either the teacher’s
I’), nor the Union for Administratrs, Council
‘CSA”) have posted a waiver of an educator’s
ucation Law §3020-(2)(a). Additionally, there
or Union, and none are allowed in these
cret waiver of the rights of tenured employees

 
 

to the tenure law Education Law 3020-a(2
be sanctioned and must prohibit any arbit
The two agreements between the UFT an
the other April 15, 2010, refer to what the

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(a) by the NYC Department of Education cannot
al decision in this matter.

the Department, one dated June 27, 2008 and
agreed upon procedures are for 3020-a

 

arbitration AFTER the hearing has been placed under an arbitrator and is ready to start.
The argument for unlawful procedures pr¢sented here refers to procedures which take
place during the pre-hearing and charging] period, before an arbitrator is appointed.

Judge Schlomo Hagler made a reversible error when dismissing the petition without basis in fact
or law and stating in his oral dismissal of the Petition nothing more than Petitioner was wrong on

the law and facts. This is not true. Judge Hagler g
namely to determine probable cause, that no law,
For Educational Policy cites, in the BYLAWS,

Thus, no delegation of the vote is permitted. The
acknowledge this fact. The delegation memos
mandated in Education Law 3020-a.

In addition, Pollack stated on p. 3 of her decision

“Further there is no need for the IEPs. The Specif

In my Article 75 Appeal I brought up the fact that
Pollack terminated me based upon the opinion o
But I was teaching for many years and received e
services my IEP students were not getting.

Compulsory Arbitration known as 3020-a is not s
punished me for not staying silent about the lack

ave powers to the Chancellor and the Principal,
rule or regulation gives them. The NYC Panel
that the Chancellor is a "non-voting' member.
fe was no Executive Session. Judge Hagler not
are without merit in the 3020-a procedures

that:

ication doesn't address any student behavior.”
here are no facts in observations and Arbitrator
f the Principal that I was no good as.a teacher.
xcellent reviews until I started asking about the

upposed to be punitive. But Arbitrator Pollack
of services for my students, and Judge Hagler

went along with it. Judge Hagler is well known as a judge who has never granted a pro se

teacher’s Petition. He did not read my papers.

In sum, I have a cause of action, namely that I
unlawful procedure which denied me any right:
tenure rights to my job were ignored by Arbitra

as terminated for no reason, no facts, and an
before the hearing began. My Constitutional
or Pollack and Judge Hagler, and I ask to be

heard on why this Court should hear my argument to get my job back.

Thank you,

Reynd Arroyo

CC: Attorney Alana Mildner via email and mail

(}, VO yh a

 
 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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REYNA ARROYO,
Plaintiff,

DOCKET NO. 19-CV-7416 CER).

AFFIDAVIT OF SERVICE

-against-

THE DEPARTMENT OF EDUCATION OF
THE CITY OF NEW YORK;

Defendants.

 

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I, Reyna Arroyo, am over the age of 18, and on November 12)
Corporation Counsel at the address listed below in the matter
Court with Index number 19-CV-7416 (ER). I served a copy
Dismiss via email and First Class Mail to:

Corporation Counsel
100 Church Street
New York, N.Y. 10007

Att: Alana Mildner

Lisp Le eg

Reyna Arroyo

Sworn to Before Me on
Noyember\ 019

Notary Public

CONSTANTINOS KOMINOS
Notary Public, State of New York
Reg. No. 01K06180349

Qualified in New York County
Commission Expires 01/07/20 |

2019 I provided service on the
before the United States District
f the Opposition To the Motion To

 

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